              Case 3:20-cv-30109-KAR Document 19 Filed 12/10/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JULIA KAN,
                     Plaintiff
         v.                                            Docket No. 20-cv-30109-KAR
NORTHFIELD MOUNT HERMON,
                     Defendant


                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Julia Kan and Defendant Northfield Mount Hermon report, pursuant to the

provisions of Massachusetts Rules of Civil Procedure Rule 41(a)(1)(ii), that they have fully and

finally resolved their dispute and they jointly stipulate to the dismissal of the above-captioned

action, waiving rights to appeal, with prejudice and with each party bearing her/its own fees and

costs.

                                 Respectfully submitted,



s/ John P. Connor                                     /s/ Gregory A. Manousos
John P. Connor (BBO No. 566927)                       Gregory A. Manousos
Stobierski & Connor                                   Morgan, Brown & Joy, LLP
377 Main Street                                       200 State Street, 11th floor
Greenfield, MA 01301                                  Boston, MA 02109
Tel: (413) 774-2867                                   Direct: (617) 788-5010
jmarkham@markhamread.com                              GManousos@morganbrown.com
Attorneys for Julia Kan                               Attorneys for Defendant
                                                      Northfield Mount Hermon
Dated: December 10, 2021




                                                  1
         Case 3:20-cv-30109-KAR Document 19 Filed 12/10/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the above date, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification to all counsel of record.

                                                     /s/ Gregory A. Manousos
                                                     Gregory A. Manousos




                                                 2
